          Case 1:20-cv-03091-TOR     ECF No. 1   filed 06/25/20   PageID.1 Page 1 of 6




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10
                        UNITED STATES DISTRICT COURT
11                     EASTERN DISTRICT OF WASHINGTON
                                  AT YAKIMA
12

13   TOOTH ACRES, LLC, a Washington              Case No. 1:20-cv-3091
14   limited liability company; GENE             NOTICE OF REMOVAL
     SCHEEL, an individual,
15
                       Plaintiffs,
16
             V.
17
     HOODSTOCK RANCH, LLC, a
18   Washington limited liability company;
     MARK GORDON HERON and
19   MARY KATHLEEN HERON,
     husband and wife,
20
                       Defendants
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                                                                       P ERKINS C OIE LLP
      NOTICE OF REMOVAL                                            1120 N.W. C OUCH S TREET ,
                                                                           10 TH F LOOR
      (No. ______________)                                         P ORTLAND , OR 97209-4128
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 1   TO:      THE CLERK AND HONORABLE JUDGES OF THE UNITED STATES
              DISTRICT COURT FOR THE EASTERN DISTRICT OF WASHINGTON
 2

 3   PLEASE TAKE NOTICE that Defendants Hoodstock Ranch, LLC, Mark
 4   Gordon Heron, and Mary Kathleen Heron (collectively, “Defendants”) hereby
 5   remove this action to this Court from the Superior Court of Washington in and for
 6   Klickitat County (“Klickitat County Superior Court”) pursuant to 28 U.S.C. §§
 7   1332, 1441, and 1446. In support of this Notice, Defendants respectfully state the
 8   following:
 9                             I.     STATE COURT ACTION
10            On or about May 18, 2020, Plaintiffs Tooth Acres, LLC and Gene Scheel
11   (“Plaintiffs”) filed the Complaint in Klickitat County Superior Court, where it was
12   assigned Case No. 20-2-00074-20. The Complaint asserts causes of action for
13   breach of promissory note and fraud, and seeks damages in excess of $583,000. A
14   copy of the Complaint is attached hereto as Exhibit A. Defendants were first
15   served with a summons and copy of the Complaint on May 31, 2020. Declaration
16   of Erick J. Haynie (“Haynie Decl.”) ¶ 5.
17                           II.    GROUNDS FOR REMOVAL
18            This action is removable under 28 U.S.C. §§ 1332(a)(1) and 1441(a)-(b)
19   because both Plaintiffs are citizens of the State of Washington, all Defendants are
20   residents of the State of Oregon, and the amount in controversy exceeds $75,000.
21   For these reasons, this Court would have had original jurisdiction over Plaintiff’s
22   claims if Plaintiff had elected to file the action initially in federal court, and
23   removal is proper. 28 U.S.C. §§ 1441(a), 1332(a)(1). All Defendants are
24   represented by the undersigned counsel, and all join and consent to this removal.
25   28 U.S.C. § 1446(b)(2)(A).
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                                                                          P ERKINS C OIE LLP
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 1   A.       There is Complete Diversity of Citizenship
 2            This Court has original jurisdiction “where the matter in controversy
 3   exceeds the sum or value of $75,000, exclusive of interest and costs,” and
 4   controversy arises between “citizens of different States.” 28 U.S.C. § 1332(a)(1).
 5   In determining whether complete diversity exists, the citizenship of a limited
 6   liability company (“LLC”) is determined by the citizenship of its members.
 7   Johnson v. Columbia Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006)
 8   (“[A]n LLC is a citizen of every state of which its owners/members are citizens.”).
 9   Plaintiff Gene Scheel is principal of Plaintiff Tooth Acres, LLC, “a limited liability
10   corporation, organized and operating under the laws of the State of Washington.”
11   Ex. A (Complaint) ¶¶ 1-2. On information and belief, based on examination of
12   publicly available documents and records, Plaintiff Scheel is a resident of
13   Washington State and the sole member of Plaintiff Tooth Acres, LLC. Haynie
14   Decl. ¶¶ 2-3. Plaintiffs are, therefore, both citizens of Washington to the best of
15   Defendants’ understanding.
16            Defendants Mark Gordon Heron and Mary Kathleen Heron are residents of
17   Oregon, and are the sole members of Hoodstock Ranch, LLC, “a limited liability
18   company, organized and operating under the laws of the State of Washington.” Id.
19   ¶ 4; Ex. A (Complaint) ¶¶ 3-4. Defendants are, therefore, all citizens of Oregon.
20            Because all Plaintiffs are citizens of Washington and all Defendants are
21   citizens of Oregon, there is complete diversity of citizenship for purposes of
22   federal jurisdiction under 28 U.S.C. § 1332(a)(1).
23   B.       Plaintiff Alleges the Amount in Controversy Exceeds $75,000.
24            In their first and third claims for relief, Plaintiffs allege they have “been
25   damaged in the principal amount of $506,000, plus prejudgment interest . . . plus a
26   contractual late fee of $25,000.00.” Ex. A (Complaint) ¶¶ 14, 27. In their second

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 1   and third claims for relief, Plaintiffs allege they have “been damaged in the
 2   principal amount of $77,250.00, plus prejudgment interest.” Id. ¶¶ 20, 28.
 3   Plaintiff, therefore, alleges damages in excess of $583,000.
 4            These allegations conclusively establish the amount in controversy unless
 5   they were made in bad faith or “it appears to a ‘legal certainty’ that the plaintiff
 6   cannot actually recover that amount[.]” See 28 U.S.C. § 1446(c)(2) (In general,
 7   “the sum demanded in good faith in the initial pleading shall be deemed to be the
 8   amount in controversy”); Guglielmino v. McKee Foods Corp., 506 F.3d 696, 699
 9   (9th Cir. 2007) (“[W]hen a complaint filed in state court alleges on its face an
10   amount in controversy sufficient to meet the federal jurisdictional threshold, such
11   requirement is presumptively satisfied unless it appears to a ‘legal certainty’ that
12   the plaintiff cannot actually recover that amount.”); Ibarra v. Manheim Invs., Inc.,
13   775 F.3d 1193, 1197 (9th Cir. 2015) (“In determining the amount in controversy,
14   courts first look to the complaint. Generally, ‘the sum claimed by the plaintiff
15   controls if the claim is apparently made in good faith.’”) (quoting St. Paul Mercury
16   Indem. Co. v. Red Cab Co., 303 U.S. 283, 289 (1938)). Accordingly, Plaintiffs’
17   allegations in the Complaint establish that the amount in controversy exceeds the
18   jurisdictional requirement under 28 U.S.C. § 1332(a).
19                     III.   DISTRICT ASSIGNMENT AND VENUE
20            This Court is the district and division embracing the place where the State
21   Court action is currently pending (Klickitat County, Washington). It is therefore
22   the appropriate court for removal pursuant to 28 U.S.C. §§ 1441(a) and 1446(a).
23                              IV.    REMOVAL IS TIMELY
24            Defendant first received a copy of the Complaint on May 31, 2020. Haynie
25   Decl. ¶ 5. This Notice of Removal (filed June 25, 2020) is therefore timely filed
26   within the 30 days allowed under 28 U.S.C. § 1446(b).

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 1                            V.    NOTICE TO STATE COURT
 2            Attached to this Notice is a true copy of the Complaint, which Plaintiff filed
 3   in Klickitat County Superior Court and subsequently caused to be delivered to one
 4   of the Defendants. See Ex. A. Proof of Notice to Plaintiff and to the Clerk of the
 5   Klickitat County Superior Court will be filed separately.
 6            Nothing in this Notice of Removal shall be interpreted as a waiver or
 7   relinquishment of Defendants’ right to assert any defense or affirmative matter,
 8   including without limitation any defense available under Fed. R. Civ. P. 12, or any
 9   other procedural or substantive defense available under State or Federal law.
10            Defendants reserve the right to amend or supplement this Notice of
11   Removal.
12            WHEREFORE, Defendants gives notice that this matter is removed to the
13   United States District Court for the Eastern District of Washington, and request
14   that this Court retain jurisdiction for further proceedings pursuant to 28 U.S.C. §§
15   1441 and 1446.
16
     _
17    DATED this 25th day of June, 2020             s/ Erick J. Haynie
                                                    Erick J. Haynie, WSBA No. 37128
18
                                                    Perkins Coie LLP
19                                                  1120 N.W. Couch Street, 10th Floor
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22                                                  Attorney for Defendants
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 1                                  CERTIFICATE OF SERVICE
 2
              I certify under penalty of perjury that on June 25, 2020, I caused the
 3
     following attorneys of record in the related state-court action to be served the
 4
     foregoing NOTICE OF REMOVAL by the method(s) indicated:
 5

 6    Stephen G. Leatham                           ____ Via hand delivery
      Heurlin, Potter, Jahn, Leatham,              _x Via U.S. Mail, 1st Class, Postage
 7    Holtmann & Stoker, P.S.                           Prepaid
 8
      211 E. McLoughlin Boulevard,                 ___ Via Overnight Delivery
      Suite 100                                    ___ Via Facsimile
 9    Vancouver, WA 98666                          _x_ Via Email
                                                   ___ Other: ___________________
10

11

12    DATED this 25th_day of June, 2020             s/ Erick J. Haynie
13
                                                    Erick J. Haynie, WSBA No. 37128
                                                    Perkins Coie LLP
14                                                  1120 N.W. Couch Street, 10th Floor
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16                                                  E-mail: EHaynie@perkinscoie.com
17                                                  Attorney for Defendants
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